
82 So.3d 1231 (2012)
SAFEGUARD STORAGE PROPERTIES, L.L.C., et al.
v.
DONAHUE-FAVRET CONTRACTORS, INC., et al.
No. 2011-CC-2558.
Supreme Court of Louisiana.
February 3, 2012.
Granted. Relator's writ application, mailed on Monday, October 10, 2011 through Federal Express, was filed within the applicable deadline from the district court's September 9, 2011 oral ruling, and is therefore timely. See Rule 2-13 of the Uniform Rules of the Court of Appeal. Because the application was filed within the deadline prescribed by Rule 4-3, relator's failure to obtain a return date does not render the application defective. See Rambo v. Willis-Knighton Bossier Health *1232 Center, 00-2157 (La.7/28/00), 766 So.2d 1262. Accordingly, the application is remanded to the court of appeal for consideration on the merits.
